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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                             EASTERN DISTRICT OF VIRGINIA
                                       Alexandria Division


UNITED STATES OF AMERICA


        V.

                                                             l:19-cr-201 (LMB)
GEORGE AREF NADER,

               Defendant.


                                             ORDER


       For the reasons stated in open court, it is hereby

       ORDERED that defendant's Motion to Revoke the Detention Order [Dkt. No. 57] be and

is DENIED.

       The Clerk is directed to forward copies of this Order to counsel of record.

       Entered this /33^y of July, 2019.
Alexandria, Virginia


                                                                      /sf
                                                        Leonie M. Brinkema
                                                        United States District Judge
